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  12                         UNITED STATES DISTRICT COURT
  13                       CENTRAL DISTRICT OF CALIFORNIA
  14    CALIFORNIA RIFLE & PISTOL                      Case No.: 2:23-cv-10169-SPG
        ASSOCIATION, INCORPORATED; THE                 (ADSx)
  15    SECOND AMENDMENT FOUNDATION;
        GUN OWNERS OF AMERICA, INC.;                   COMBINED REPLY IN
  16    GUN OWNERS FOUNDATION; GUN                     SUPPORT OF PLAINTIFFS’
        OWNERS OF CALIFORNIA, INC.; ERICK              MOTION FOR PRELIMINARY
  17    VELASQUEZ, an individual; CHARLES              INJUNCTION
        MESSEL, an individual; BRIAN WEIMER,
  18    an individual; CLARENCE RIGALI, an             Hearing Date: March 13, 2024
        individual; KEITH REEVES, an individual,       Hearing Time: 1:30 p.m.
  19    CYNTHIA GABALDON, an individual; and           Courtroom: 5C
        STEPHEN HOOVER, an individual,                 Judge: Hon. Sherilyn Peace Garnett
  20
                            Plaintiffs,
  21                 v.
  22    LOS ANGELES COUNTY SHERIFF’S
        DEPARTMENT; SHERIFF ROBERT
  23    LUNA, in his official capacity; LA VERNE
        POLICE DEPARTMENT; LA VERNE
  24    CHIEF OF POLICE COLLEEN FLORES,
        in her official capacity; ROBERT BONTA,
  25    in his official capacity as Attorney General
        of the State of California and DOES 1-10,
  26
                            Defendants.
  27
  28


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    1   I.    INTRODUCTION
    2         In all three of Defendants’ oppositions, one general theme predominates: all
    3   of them rely on the unspoken premise that the Second Amendment is a second-class
    4   right. The City of La Verne and its sheriff considers it “reasonable” to pay over
    5   $1,000 to exercise an enumerated constitutional right; the Los Angeles Sheriff’s
    6   Department (“LASD”) and its sheriff believe an 18-month wait and arbitrary
    7   denials are acceptable, and the State and its Attorney General argue that 88 percent
    8   of Americans have no right to carry in California. And all Defendants defend
    9   suitability determinations the Supreme Court expressly forbade.
  10          American history teaches that, when state and local governments are forced
  11    to comply with Supreme Court rulings they disfavor, provincial defiance must be
  12    promptly quashed before it becomes the sort of ingrained custom, habit, or practice
  13    that grew out of Plessy v. Ferguson, 163 U.S. 537 (1896). It bears repeating that
  14    Cooper v. Aaron, 358 U.S. 1 (1958) dealt specifically with bureaucratic delay in
  15    implementing public school integration. See Brown v. Board of Education (I), 347
  16    U.S. 483 (1954), and Brown v. Board of Education (II), 349 U.S. 294 (1955). At the
  17    time, Senator Byrd had issued the call for “Massive Resistance,” and a grotesque
  18    corpus of enactments designed to flout Brown’s call for integration emerged. This
  19    Court, like the Cooper Court, should sweep aside the excuse-making by state actors
  20    by simply make the finding that “[D]elay in any guise in order to deny [..]
  21    constitutional rights [..] [should] not be countenanced, and that only a prompt start,
  22    diligently and earnestly pursued [..] [can] constitute good faith compliance.” Id. at
  23    7. To countenance this form of “resistance” when it comes to Second Amendment
  24    rights in a post-Bruen landscape invites the same constitutional anarchy that
  25    prevailed between Plessy and Brown.
  26          Last year, when he announced a new bill restricting carry in response to
  27    Bruen, Governor Newsom (like his spiritual predecessor Governor Orval Faubus of
  28    Arkansas) angrily criticized the Supreme Court for the Bruen ruling, and ridiculed
                                        1
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    1   the notion of a right to carry with sarcastic air quotes. See SB 2 Press Conference,
    2   YouTube.com (Feb. 1, 2023), https://www.youtube.com/watch?v=Kpxpj6yvFIo (at
    3   36:10) (last visited Feb. 22, 2024). Now local issuing authorities, hostile to the right
    4   to carry described in Bruen, are aping the Governor’s defiance of the Supreme
    5   Court and attempting to stifle the right by other means.
    6         The subtext of the Defendants’ Oppositions is their suggestion that concealed
    7   handgun permitting is at issue in this case. It is not. What is at issue are lengthy
    8   wait times, exorbitant fees, discretionary criteria, and the complete denial of the
    9   right to carry to nonresidents. To be sure, the Supreme Court did not broadly opine
   10   as to the constitutionality of permitting schemes. But it did expressly foreclose
   11   Defendants’ practices here. Remediating them here is the absolute bare minimum
   12   that Bruen requires. 1
   13
        II.   ARGUMENT
   14
              A.     LASD’s and Luna’s Opposition.
   15
                     1.     The admittedly lengthy wait times of LASD’s permit scheme
   16                       are unconstitutional regardless of cause.
   17         The staggering admissions made in Defendant LASD’s briefing reveal that
   18   the situation is worse than Plaintiffs imagined. LASD boasts that it is processing 45
   19   first-time permit applications per week. See Defs. Los Angeles Cnty. Sheriff’s Dep’t
   20   and Sheriff Robert Luna’s Opp. to Pls.’ Motion for Prelim. Inj. (“LASD Opp.”) at
   21   4:3-8. At that pace, LASD would process only 2,340 applications per year, and the
   22   Chavez declaration states that the LASD backlog currently stands at 9,400 first-
   23   time applications waiting to be processed. See Decl. of Regina R. Chavez in Supp.
   24   of Defs. Los Angeles Cnty. Sheriff’s Dep’t and Sheriff Robert Luna’s Opp. to Pls.’
   25
              1
                Two of the three sets of Defendants present historical laws for consideration
   26   which they argue support their respective positions, and the State presents
        declarations from three historians. Plaintiffs have submitted their own brief rebuttal
   27   declaration from their own historian, Clayton Cramer identifying the laws that
        Defendants and their experts do not present accurately to the Court. See Rebuttal
   28   Decl. of Clayton Cramer in Supp. of Pls.’ Mot. for Prelim. Inj., passim, and Ex. 4.
                                                    2
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    1   Mot. for Prelim. Inj., ¶ 10. Thus, even wrongly assuming LASD does not receive
    2   any additional applications, it currently will take LASD four years to process the
    3   existing backlog of first-time applications.
    4         Astonishingly, LASD argues that this wait time does not even implicate the
    5   Second Amendment. LASD Opp. at 9:11-15. To make that argument, LASD
    6   construes Plaintiffs’ proposed course of conduct as acquiring a CCW permit “on a
    7   specific timeline where the agency issuing the permits is confronting unprecedented
    8   backlogs following a sea change in the governing law.” Id. In other words,
    9   constitutional rights must yield to government inconvenience. But Bruen did not
   10   describe the proposed course of conduct there as “carrying a handgun without a
   11   good reason to do so sufficient to be issued a carry permit,” but rather as “carrying
   12   handguns publicly for self-defense.” Bruen, 597 U.S. at 4; see also Koons v.
   13   Platkin, 2023 WL 3478604, at *18 (D.N.J. May 16, 2023) (plain text implicated by
   14   the mere existence of permitting system). That is the exact same course of conduct
   15   Plaintiffs here wish to engage in; carrying handguns in public for self-defense,
   16   despite LASD’s demurrer that it is very, very busy.
   17         Even more astonishingly, LASD contends there is no right to a carry permit
   18   within any timeframe at all, and that its years-long wait cannot be construed as
   19   abusive. LASD Opp. at 9:11-15, 11:5-10. But any inherent time necessary to issue a
   20   permit (officials in many states issue concealed carry permits on the spot, “while
   21   you wait”) is not a blank check to impose years’ long delays. It is axiomatic that “a
   22   right delayed is a right denied,” a maxim that emerged from Gladstone’s “justice
   23   delayed is justice denied” proposition. Snow Covered Cap., LLC v. Fonfa, 2023 WL
   24   205774, at *2 (D. Nev. Jan. 17, 2023). LASD may not jettison this hornbook
   25   principle.
   26         Since Bruen, various courts have tolerated some amount of permit processing
   27   time (days or a couple months), but none comes even close to LASD’s delay. When
   28   the wait is more than a few months long, courts have taken issue. See Antonyuk v.
                                                  3
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    1   Chiumento, 89 F.4th 271, 315 n.24 (2d Cir. 2023) (30-day review period for firearm
    2   purchase is reasonable); Maryland Shall Issue, Inc. v. Moore, 86 F.4th 1038, 1054
    3   n.6 (4th Cir. 2023) (Keenan, J., dissenting) (finding handgun licensing with a 30-
    4   day waiting period is permissible, and noting that several states have time limits for
    5   CCW permit issuance, but none higher than 90 days); Rogers v. Hacker, 2023 WL
    6   5529812, at *8 (S.D. Ill. Aug. 28, 2023) (waiting period of five months to issue a
    7   firearm owners ID card constituted a concrete injury); Order Granting Prelim. Inj.
    8   and to Show Cause, Kamenshchik v. Ryder (No. 612719/22) (Nassau Cty., NY Sup.
    9   Ct. Feb. 22, 2024) at p. 13 (accessible at: https://iapps.courts.state.ny.us/
   10   nyscef/ViewDocument?docIndex=YAzIxNWUH83WonX87mAkVg==) (last
   11   visited Feb. 27, 2024) (ordering police explanation for 8-month delay in the CCW
   12   permit process); People v. Gunn, 2023 IL App. (1st) 221032, ¶ 28 (90-day wait time
   13   for a CCW permit is reasonable); In re D.B., 2023 IL App. (1st) 231146-U, n.1 (51-
   14   day wait for a firearm owner’s ID card is not unconstitutional). LASD’s argument
   15   that the current situation raises no constitutional issues, and is per se not abusive
   16   because it is not intentional (LASD Opp. at 11:5-10), fails to clear the starting gate.
   17         Surprisingly, LASD cites a case that ostensibly supports Plaintiffs on this
   18   issue. In Thomas v. Chicago Park Dist., the Supreme Court upheld a local
   19   regulation that required permits for public assemblies and gave officials 28 days to
   20   review applications. 534 U.S. 316, 324 (2002). Ironically, most Californians no
   21   doubt would consider California Penal Code section 26205’s 120 days (more than
   22   four times the 28 days in Thomas) a marked improvement.2 And in the other case
   23         2
                LASD argues that Plaintiffs may not enforce the California Penal Code
        though Section 1983 actions. LASD Opp. at 1:15-17 & n.2. Plaintiffs do not seek to
   24   enforce state law; they seek to enforce the Second Amendment. See 42 U.S.C. §§
        1983, 1988. State statutes and state constitutions can inform the decisions of federal
   25   courts, even if the state law merely sets a bare minimum standard for government
        conduct in the face of regulating or infringing on enumerated rights. See generally
   26   Torcaso v. Watkins, 367 U.S. 488 (1961) (state law mandating a religious oath in
        violation of First Amendment is proper subject for federal court adjudication.).
   27
              Moreover, California’s statutory 120-day limit (whether enforceable by non-
   28   government parties) is still a standard that acts like a judicial admission by the
                                                     4
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    1   LASD cited, Southern Oregon Barter Fair v. Jackson County, never-ending wait
    2   times were a mere “theoretical possibility,” not being suffered by plaintiffs there as
    3   they are actually suffered by Plaintiffs here. 372 F.3d 1128, 1138 (9th Cir. 2004).
    4         As to historical laws, LASD cites several laws to defend permitting in
    5   general. LASD Opp. at 13:21-14:5. But LASD has marshaled zero evidence of any
    6   historical laws that involved the years’ long wait its CCW applicants experience.
    7   And when comparing a modern law or practice to proposed historical analogues,
    8   “whether modern and historical regulations impose a comparable burden on the
    9   right of armed self-defense” is a central consideration. Bruen, 597 U.S. at 29. There
   10   is simply nothing in LASD’s compilation of historical laws that justify its
   11   extraordinary wait times.
   12         The historical laws presented also fail for other reasons. For example, most
   13   of the restrictions only applied to concealed carry, not open carry, which was
   14   unrestricted. See, e.g., LASD’s Survey of Historical Laws, passim. In contrast,
   15   California generally does not allow open carry, and certainly not without a CCW
   16   permit, so CCW permits are the only option. The comparable burden thus differs
   17   greatly. Further, most of LASD’s cited laws are from the late 19th century, and were
   18   primarily local ordinances, not state laws. But Bruen demands an “enduring
   19   American tradition of state regulation.” 597 U.S. at 29, and “the bare existence of
   20   these localized restrictions cannot overcome the overwhelming evidence of an
   21   otherwise enduring American tradition permitting public carry.” Id. at 67. LASD
   22   also cites 20th-century history, which is utterly irrelevant to the analysis. The
   23   Supreme Court noted that it would not even bother to address such history, as it was
   24
        sovereign here on a Procedural Due Process claim. That the Department of Justice
   25   does not act to end the illegal wait times and other Penal Code violations described
        in this case shows its corresponding lack of respect for the Second Amendment.
   26
              Plaintiffs believe that the Second Amendment requires they be provided
   27   permits with greater alacrity than a 120-day statutory period. Regardless of how
        LASD attempts to frame the relief sought, delays well beyond this length of time
   28   even mandated by state law violate the Second Amendment.
                                                   5
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    1   too far removed from the founding era to shed light on the Founding era
    2   understanding of the right’s scope. Id. at 66 n.28.
    3         Tellingly, LASD presents no laws of any relevance from the Founding era,
    4   the critical period.3 To be sure, LASD does marshal evidence of some laws from
    5   that general era: explicitly racist laws that have no place here. LASD’s Survey of
    6   Historical Laws at 1-9. The fact that laws existed prohibiting slaves and Black
    7   Americans from having arms does not, and really should not, be exhumed from the
    8   nation’s skeleton closet to carry water for unconstitutional enactments today. See
    9   e.g., Bruen at 62-63 (discussing how despite the Southern States’ historical
   10   antebellum tradition of disarming blacks from carrying through racist laws, blacks
   11   still carried firearms for protection, and further discussing how the commander of
   12   the military district set up postbellum to administer the recently-defeated
   13   Confederacy struck down such black codes so as to allow carry by blacks in South
   14   Carolina). Indeed, the Thirteenth and Fourteenth Amendments terminated the
   15   validity of race-based gun control laws, and other courts have properly rejected
   16   reliance on such laws in the Bruen context. See, e.g., Baird v. Bonta, 81 F.4th 1036,
   17   1047 (9th Cir. 2023) (citing Range v. Att’y Gen. United States of Am., 69 F.4th 96,
   18   105 (3d Cir. 2023)). This Court likewise should “give such discriminatory laws
   19   little or no weight.” Duncan v. Bonta, 2023 WL 6180472, at *22 (S.D. Cal. Sept.
   20   22, 2023).
   21         Certainly, Bruen triggered a surge in permit applications. But that was nearly
   22   two years ago, and Plaintiffs have given LASD more than enough time to adjust to
   23   the new status quo. See Decl. of Richard Minnich in Supp. of Pls.’ Mot. for Prelim.
   24   Inj., ¶ 5-6. But far from improving, LASD’s excessive delays have only worsened.
   25         3
                “[T]oday’s decision should not be understood to endorse freewheeling
        reliance on historical practice from the mid-to-late 19th century to establish the
   26   original meaning of the Bill of Rights.” Bruen, 597 U.S. at 83 (Barrett, J.,
        concurring); see also Espinoza v. Montana Dep’t of Revenue, 591 U.S. __, 140 S.
   27   Ct. 2246, 2258 (2020) (practice that “arose in the second half of the 19th century . .
        . cannot by itself establish an early American tradition” informing our
   28   understanding of the First Amendment.).
                                                    6
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    1   Id. Whether the delay is a product of LASD’s decision to understaff its CCW
    2   division, or something else, is not truly relevant. Bruen expressly forbade lengthy
    3   wait times that deny ordinary citizens the right to carry; no scienter is required. 597
    4   U.S. at 38 n.9. Thus, this Court must order LASD to end its abusive delays, and
    5   guarantee that Second Amendment rights are not relegated to “second class”
    6   status—or, in LASD’s case, constitutional steerage. The fact that LASD has not
    7   already assigned as many personnel as are necessary to liquidate the backlog shows
    8   its gross disrespect for the enumerated rights of Californians. A right delayed is a
    9   right denied. Unless and until LASD gets its house in order, this Court should
   10   allow Plaintiffs to carry without a permit pending a decision on their applications.
   11   See Shuttlesworth v. City of Birmingham, 394 U.S. 147, 151 (1969). More than half
   12   the states in the union require no permit at all; thus, it is farcical to entertain the
   13   notion that extensive and redundant vetting of law-abiding gun owners that results
   14   in years’ long delays is anything but abusive.
   15
                      2.     The subjective criteria employed by LASD are patent and
   16                        unconstitutional.
   17          Bruen made clear that permit issuance guidelines must be “narrow, objective,
   18   and definite” and not allow for “appraisal of facts, the exercise of judgment, and the
   19   formation of an opinion.” Bruen, 597 U.S. at 38 n.9. LASD has implemented the
   20   latter sort of scheme, hiding behind California Penal Code sections which
   21   themselves are subjective. These subjective determinations are why certain
   22   Plaintiffs have been denied permits, in violation of Bruen.
   23                        a.     Plaintiff Velasquez.
   24          LASD claims that Plaintiff Velasquez was denied, in part, because of an

   25   unintentional discharge in the home. LASD Opp. at 18:1-16. But LASD omits that

   26   Velasquez immediately called the police. Chavez Decl., Ex. 2 (Downey Police

   27   Department Case Report of April 20, 2021). He also notified the CCW unit. Id., Ex.

   28   1, (at question no. 9). And most critically: Velasquez was issued a CCW permit
                                                   7
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    1   in August 2021 after the unintentional discharge incident in April 2021. Having
    2   thus met all the “objective” requirements for licensure, and in fact receiving a
    3   license thereafter, LASD’s subsequent denial of Velasquez’s renewal application
    4   could only be the result of the “formation of an opinion” about his suitability for a
    5   permit. Id., Ex. 1 (CCW Applicant Cover Page).
    6         And regarding the theft of firearms from his vehicle, LASD speculates that
    7   he must have failed to lock his vehicle, because there was no damage. But there are
    8   ways to break into vehicles without leaving visible damage, such as by wedging the
    9   door slightly open and using a rod to hit the unlock button. See Robert Vallelunga,
   10   How to Break Into a Car, WikiHow, Dec. 9, 2023, https://www.wikihow.com/
   11   Break-Into-a-Car (last visited Feb. 23, 2024). Plaintiff Velasquez stored the firearms
   12   consistent with California Penal Code section 25610(a), which allows for storage in
   13   the locked vehicle’s trunk. See Decl. of Erick Velasquez in Supp. of Pls.’ Mot. for
   14   Prelim. Inj., ¶ 6. Furthermore, Plaintiff Velasquez promptly reported the theft to
   15   police, as the law requires. Chavez Decl., Ex. 1 (Vernon Police Department May 4,
   16   2023 Report). And although California law makes it a crime to store firearms
   17   improperly in a vehicle, Velasquez was not charged with any crime. See Cal. Penal
   18   Code § 25140 (West 2024). LASD’s speculation about the how and why of
   19   Velasquez’s victimization—absent some indicia of actual negligence or
   20   criminality—is again the sort of subjective consideration forbidden under Bruen.
   21   597 U.S. at 38 n.9.Thus, in both circumstances, the first resulting from error and the
   22   second resulting from sheer victimization, Velasquez took immediate action to
   23   promptly report the incidents to the police. The fact that discretion allows LASD to
   24   deny Velasquez the permit in the first place is the issue, not how LASD’s discretion
   25   was actually exercised in this circumstance. Even in Bruen, that some New Yorkers
   26   received permits was not good enough for the Supreme Court to consider New
   27   York’s discretionary requirements constitutional.
   28
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    1         And while unintentional discharges and theft of firearms are admittedly
    2   problematic situations, the reality is that there is nothing unusual about them.
    3   Hypocritically, LASD has a well-documented problem with both, having lost over
    4   100 firearms as of a 2016 report. See Tony Saavedra, Police might not know where
    5   their guns are, and the law says that’s OK, Orange Cnty. Reg. (Cal.), (Sept. 28,
    6   2016), https://www.ocregister.com/2016/09/28/police-might-not-know-where-their-
    7   guns-are-and-the-law-says-thats-ok/amp/ (last visited Feb. 23, 2024). And
    8   following the introduction of a new model of service handgun, many LASD officers
    9   had unintentional discharges. See Cindy Chang, Rise in accidental gunshots by L.A.
   10   County deputies follows new firearm, LA Times, (June 13, 2015)
   11   https://www.latimes.com/local/california/la-me-sheriff-guns-20150614-story.html
   12   (last visited Feb. 23, 2024).
   13         Ostensibly, in order to hide what they know was a subjective denial, LASD
   14   marked “other” on the letter they sent Plaintiff Velasquez on the reason for his
   15   denial. See Chavez Decl., Ex. 1. Mr. Velasquez was only told about the reason for
   16   the denial—the theft of his firearms—when he called LASD for an explanation. See
   17   Velasquez Decl. ¶ 8. This Court should vindicate his right to carry and order LASD
   18   to promptly issue him a renewal permit.
   19                       b.     CRPA member Partowashraf.
   20         Every unflattering allegation LASD makes of Plaintiff California Rifle &

   21   Pistol Association, Incorporated (“CRPA”) member Partowashraf is mere

   22   recapitulation of allegations his former girlfriend made in an affidavit filed in

   23   support of her request for a restraining order against him. LASD Opp. at 6:10-7:2.

   24   Mr. Partowashraf vehemently denies the veracity of those allegations, especially

   25   because she made them after she attempted to extort him. See Decl. of Sherwin

   26   David Partowashraf in Supp. of Pls.’ Mot. for Prelim. Inj., ¶ 5. Nevertheless, when

   27   the state court issued the temporary restraining order against him, he respected the

   28   consequences, and surrendered his firearms to the West Valley Police Station. Id. at
                                                 9
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    1   ¶ 6. What LASD fails to mention is that, upon a hearing, the temporary restraining
    2   order was dissolved, and Mr. Partowashraf retrieved his firearms from the police
    3   station. Id. at ¶¶ 5-6. He disclosed every detail of the ordeal of this stressful and
    4   harrowing saga during the CCW permit application process. Id. at ¶ 7. LASD
    5   should not be allowed to deny a constitutional right based on a temporary
    6   restraining order, issued upon declaration evidence, which was dissolved upon an
    7   actual hearing, and only lasted 24 days. Doing so creates a guilty-when-accused
    8   system that flouts fundamental due process standards. Because California Penal
    9   Code section 26202(a)(3) commands or allows this result, this Court should rule it
   10   unconstitutional.
   11         Clearly, these reasons for denying these individuals carry permits cannot be
   12   reconciled with Bruen. The fact is that more than just “model citizens” have Second
   13   Amendment rights. See United States v. Daniels, 77 F.4th 337, 342 (5th Cir. 2023)
   14   (“[T]he legislature cannot have unchecked power to designate a group of persons as
   15   ‘dangerous’ and thereby disarm them,” which would “render the Second
   16   Amendment a dead letter.”) Id. at 353. And the Third Circuit, sitting en banc,
   17   concluded that they were “confident that the Supreme Court’s references ... do not
   18   mean that every American who gets a traffic ticket is no longer among ‘the people’.
   19   . . .” Range v. AG United States, 69 F.4th 96, 102 (3d Cir. 2023). Finally, as this
   20   brief was being finalized, a ruling from the Northern District of California endorsed
   21   Range and concluded that plaintiffs who were former felons but had those
   22   convictions “vacated, set aside, or dismissed, and their right to possess firearms
   23   restored” are part of “the People” the Second Amendment applies to. See Order Re
   24   Summary Judgment, Linton v. Becerra (No 18-cv-07653-JD) (N.D. Cal. Dec. 20,
   25   2018), ECF No. 76, at p. 1, 20. If California may not deny former felons with
   26   vacated convictions their Second Amendment rights, then certainly a dissolved
   27   temporary restraining order that was only in place for a month is not enough to do
   28   the same.
                                        10
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    1         These Plaintiffs have not been convicted of any disqualifying crime, are not
    2   prohibited persons, and cannot be disarmed simply because the government
    3   believes them to be generally untrustworthy. And the statute, which permits the
    4   discretion that allows this to occur, is unconstitutional.
    5         B.     Attorney General Bonta’s Opposition.
    6                1.   Not allowing nonresident carry is constitutionally
                          indefensible.
    7         Flying in the face of virtually all the relevant precedents, the State boldly
    8   argues that non-residents have no right to carry whatsoever when in California. The
    9   State flatly refuses to honor permits issued in other states, and it does not provide a
   10   process for nonresidents to even apply for a California CCW permit. The result is
   11   that Plaintiff Hoover, as well as CRPA member David Broady, are completely
   12   unable to exercise their right to carry when they visit California. Their proposed
   13   course of conduct clearly meets the plain text of the Second Amendment, a desire to
   14   carry firearms for self-defense when they visit California. Bruen, 597 U.S. at 4; see
   15   also Linton, ECF No. 76, at p. 12 (confirming that denying Second Amendment
   16   rights to nonresidents constitutes concrete injury, and California’s argument that
   17   “only a resident physically present in California may bring a claim for that injury is
   18   misdirected.”).
   19         The State’s arguments in opposition range from weak to misleading. First,
   20   the State imagines a race-to-the-bottom scenario wherein one state’s ultra-relaxed
   21   permit issuance scheme effectively supplants the rest. See Def. Rob Bonta’s Opp. to
   22   Pls.’ Mot. for Prelim. Inj. (“State’s Opp.”) at 6:6-15. But it does not point to any
   23   real-world example, because none exist. Every state permit scheme requires a
   24   background check (and usually a training course) as a prerequisite to issuing CCW
   25   permits. There is no lawful way to maneuver around those requirements (other than
   26   permitless carry).
   27         For example, obtaining a Florida CCW required Plaintiff Hoover to
   28
                                          11
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    1   “demonstrate competency with a firearm,” which can be completed via various
    2   approved training courses. See Acceptable Firearms Training Documentation,
    3   Florida Department of Agriculture and Consumer Services, https://www.
    4   fdacs.gov/Consumer-Resources/Concealed-Weapon-License/Applying-for-a-
    5   Concealed-Weapon-License/Acceptable-Firearms-Training-Documentation (last
    6   visited Feb. 24, 2024). He also had to pass a background check that disqualifies for
    7   any felony conviction, violent misdemeanor, a record of drug or alcohol abuse,
    8   dishonorable discharge, and much more. See Eligibility Requirements for a Florida
    9   Concealed Weapon License, Florida Department of Agriculture and Consumer
   10   Services, https://www.fdacs.gov/Consumer-Resources/Concealed-Weapon-
   11   License/Applying-for-a-Concealed-Weapon-License/Eligibility-Requirements (last
   12   visited Feb. 24, 2024). The State’s claim that it must discriminate against the
   13   permits of other states because they do not sufficiently vet applicants is baseless.
   14         Moreover, if the State’s theory were true—that other states issue CCW
   15   permits without sufficient due diligence—then those states should expect high
   16   crime rates among their permit holders. The State argues as much. See State’s Opp.
   17   at 21:6-10 & n.19. Yet, it presents no data to support such an argument.
   18         The State presents no such data to this Court because the State knows its
   19   argument is false and the data does not exist. In separate litigation also involving
   20   Attorney General Bonta and Plaintiff CRPA, CRPA presented data from five other
   21   states to show that individuals issued CCW permits in those states had nearly
   22   nonexistent rates of criminality. One of those five states was the above-referenced
   23   Florida. Partly because of that data, the court granted a preliminary injunction. May
   24   v. Bonta, 2023 WL 8946212, at *19 (C.D. Cal. Dec. 20, 2023). The State asked the
   25   Ninth Circuit to stay that injunction, but it refused. See Order on Mot. to
   26   Consolidate, May v. Bonta, No. 23-4356 (9th Cir. Dec. 22, 2023), ECF No. 20.1.
   27   Although Plaintiffs set the record straight and educated the State on this data mere
   28   weeks ago, the State, without presenting a scintilla of data to the contrary to support
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    1   their position, makes the same demonstrably false argument here. They have been
    2   well aware of this argument but have been unable to muster any data in support
    3   because, despite a continent’s worth of other sources of such data, none have data
    4   supporting the State’s speculative and false claim.
    5         Turning to the State’s historical analogues, the most glaring deficiency is the
    6   almost total lack of Founding era history. In that era, residents of other states could
    7   carry firearms and other weapons around the country, so long as they did not do so
    8   “to the fear or terror” of the people, as the State notes. State’s Opp. at 7:14-19
    9   (citing 1795 Massachusetts law). Carrying of weapons while traveling was not a
   10   new or novel problem at the Founding. The lack of Founding era restrictions on
   11   nonresident carry unequivocally dooms the State’s argument under Bruen. The
   12   later 19th-century laws that the State presents fare no better. They were almost
   13   exclusively concealed carry restrictions which did not affect open carry, thus
   14   allowing nonresidents to carry arms openly without a permit. See, e.g., Decl. of
   15   Professor Robert Spitzer in Supp. of Def. Rob Bonta’s Opp. to Pls.’ Mot. for
   16   Prelim. Inj., ¶¶ 21-36 (citing 15 laws or ordinances from 1871 through 1896 that
   17   required licenses to carry, but almost all explicitly applied only to “concealed” or
   18   “hidden” weapons). And when it comes to carry restrictions on nonresidents, the
   19   State’s expert cites only hunting-related laws (save for one 1899 law pertaining to
   20   firearm acquisition), not laws pertaining to peaceable carry for self-defense. See
   21   Spitzer Decl., at ¶¶ 73-74.
   22         Another State’s expert, Brennan Rivas, claims that open carry was also
   23   restricted, but cites only two examples of open carry prohibitions from Texas and
   24   West Virginia, the very states the Supreme Court considered outliers in Bruen. See
   25   597 U.S. at 65 (“In fact, [besides Texas] only one other State, West Virginia,
   26   adopted a similar public-carry statute before 1900.”). Besides those two laws, Rivas
   27   mostly tries to justify why more restrictions did not exist but, in the process, admits
   28   open carry was permitted. See, e.g., Decl. of Professor Brennan Gardner Rivas in
                                                  13
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    1   Supp. of Def. Rob Bonta’s Opp. to Pls.’ Mot. for Prelim. Inj., ¶ 22 (acknowledging
    2   a “nineteenth century tendency” of not outlawing open carry because of “honor
    3   culture”). Elsewhere, Rivas misrepresents the laws she discusses. For example, she
    4   states that an 1838 Virginia law punished “habitual” carrying of deadly weapons
    5   (Id. at 25), but in the footnote below the text of the law clearly applies only to
    6   concealed carry. Id.4
    7         Other of the State’s experts also misrepresent the laws they cite. Plaintiffs’
    8   expert historian has examined the State’s experts faulty and inaccurate
    9   characterizations of historical laws, has identified such misrepresentations, and
   10   describes some of the more egregious examples of misrepresentations. See Cramer
   11   Decl., ¶¶ 5-53, and Ex. 4. The State also attempts to discredit the many examples of
   12   historical “travelers’ exceptions” laws that existed, arguing that they were limited
   13   and did not apply once someone stopped in a town for more than a short while.
   14   State’s Opp. at 11:7-9 & n.13 (citing 1887 Terr. of N.M. Laws, § 9). Yet California
   15   does not extend even that much leeway; if Plaintiff Hoover carried a firearm on his
   16   person while he went on a hike or drove from one town to the next, he would be
   17   committing a crime.
   18         The State’s historical showing, at most, shows a post-Founding and post-
   19   Reconstruction tradition for licensing schemes in general. But the existence of
   20   firearms licensing, whether constitutional or not, is not at issue here. Plaintiffs have
   21   licenses and want California to honor them. The State presents almost no history
   22   that would justify excluding nonresidents from the right to carry. The only laws it
   23   cites to that effect were, save for one 1896 local ordinance, entirely from the 20th
   24   century. The Supreme Court is clear that such late-in-time history is not relevant, as
   25   the New York law it overturned in Bruen dated to 1911, and the Court explained
   26
              4
                 At least one point Rivas makes supports Plaintiffs as to another aspect of
   27   their motion: an 1835 Florida law which charged those who wished to carry the
        inflation-adjusted equivalent of $320, which amount is much less than the over
   28   $1,000 La Verne charges. See Rivas Decl., at ¶ 42.
                                                  14
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    1   that it “will not address any of the 20th-century historical evidence. . . .” Bruen, 597
    2   U.S. at 66 n.28. What is decisive here is the fact that in the 18th and 19th centuries,
    3   numerous state courts, and even the Supreme Court, acknowledged that American
    4   citizens generally had the right to carry arms wherever they went, even if
    5   restrictions on concealed carry were deemed acceptable so long as open carry was
    6   allowed. See Cramer Decl., ¶¶ 31-44.
    7         As to caselaw, the State presents only pre-Bruen cases for the idea that states
    8   may deny nonresidents the right to carry. State’s Opp. at 13:13-14:12 (citing Bach
    9   v. Pataki, 408 F.3d 75, 87 (2d Cir. 2005); Culp v. Raoul, 921 F.3d 646, 657 (7th
   10   Cir. 2019); and Peruta v. Cnty. of San Diego, 758 F. Supp. 2d 1106, 1119–20 (S.D.
   11   Cal. 2010), aff’d, 824 F.3d 919 (9th Cir. 2016) (en banc)). The one court to grapple
   12   with this question after Bruen reached a well-reasoned ruling that supports
   13   Plaintiffs’ arguments; this is likely why the State buried an insufficient rebuttal to it
   14   in a footnote rather than analyze it in the body of its opposition. State’s Opp. at
   15   14:10-12 & n.16 (discussing Commonwealth v. Donnell, No. 2211CR2835 (Mass.
   16   Dist. Ct. Aug. 3, 2023)).
   17         The State also contends that a citizen of one of the 27 constitutional carry
   18   states would be able to carry in California if this Court grants Plaintiffs their
   19   requested injunction. State’s Opp. at 6:8-12. But Plaintiffs have sought only
   20   reciprocity for their out-of-state issued permits, not reciprocity with the permitless
   21   carry some other states allow.
   22         Finally, contrary to the State’s assertion, Plaintiffs have repeatedly sought
   23   multiple forms of relief, including that nonresidents be permitted to apply for
   24   California CCW permits. In fact, there currently is no procedure for a non-resident
   25   like Plaintiff Hoover to apply for a permit. See Pls.’ Mot. for Prelim. Inj. (“Mot.”)
   26   at 2:17-3:6 (“California law . . . does not allow permits to be issued to out-of-state
   27   residents. . . .”) and 22:14-19 (“Nonresidents are barred in California from
   28   obtaining a CCW permit. . . .”); and see Decl. of Stephen Hoover in Supp. of Pls.’
                                                  15
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    1   Mot. for Prelim. Inj., ¶ 4 (applied for and denied a CCW permit due to not being a
    2   California resident); and Complaint at 40:24-41:6 (prayer for relief). Plaintiffs’
    3   proposed order likewise seeks multiple forms of relief, including an order that
    4   California honor the permits of other states. While Plaintiffs are required under
    5   Federal Rule of Civil Procedure 7 to state the relief they seek, they are not required
    6   to lay out every possible avenue of alternative or lesser relief the Court may craft.
    7   Nor would such a list of endless possibilities constitute a “concise statement of the
    8   relief or Court action the movant seeks.” C.D. Cal. Civ. L.R. 7-4 (emphasis added).
    9   The sole case the State cites involves a situation where the relief requested in the
   10   motion contradicted what was in the Notice of Motion. Starks v. Cnty. of Los
   11   Angeles, 2022 WL 1344986, at *1 (C.D. Cal. Mar. 28, 2022). There is no such
   12   contradiction here. And “if the court can comprehend the basis of the motion and
   13   deal fairly with it, technicalities ought to be avoided.” McGarr v. Hayford, 52
   14   F.R.D. 219, 221 (S.D. Cal. 1971).5
   15         But this Court need not bother with alternative forms of relief. It should grant
   16   Plaintiffs the primary relief requested and order California to honor other states’
   17   permits. Merely ordering the State to accept nonresident applications would be very
   18   limited relief. Regardless of whatever relief is provided, the State concedes—nay, it
   19   is proud—that it treats out-of-state residents as inferiors by providing them no
   20   method to exercise their constitutional right to carry in California. One way or
   21   another, that situation must end.
   22                 2.    Psychological examinations are inherently suitability
                            determinations divorced from modern mental health
   23                       prohibitions.6
   24         In Bruen, the Supreme Court expressly rejected suitability determinations.
   25         5
                The State cynically argues that it lacks adequate notice of a type of
        injunctive relief that can be imposed on it for providing relief to nonresidents by
   26   devoting a significant amount of its opposition brief to discussing the very relief of
        which it purportedly lacks notice.
   27
              6
                Plaintiffs concede that, due to recent changes in California law that took
   28   effect on January 1, 2024, there is now an appeals process for CCW denials. They
                                                   16
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    1   597 U.S. at 15 & 38 n.9. A psychological examination requirement is the
    2   quintessential suitability determination, as it inherently requires “appraisal of facts,
    3   the exercise of judgment, and the formation of an opinion.” Id. (quoting Cantwell v.
    4   State of Connecticut, 310 U.S. 296, 305 (1940)). The State offers several arguments
    5   in opposition.
    6         First, it asserts that Plaintiffs do not facially challenge the psychological
    7   examination. That is false. Plaintiffs’ motion states that Plaintiffs Rigali, Reeves,
    8   and Gabaldon do not want to subject themselves to the indignity of such an exam as
    9   a precondition of exercising their rights. Mot. at 18 (citing each respective
   10   declaration). Plaintiffs’ proposed order likewise asks that La Verne be ordered to
   11   stop requiring a psychological examination. And Plaintiffs’ complaint calls for
   12   enjoining the Penal Code section that allows psychological examinations. See
   13   Complaint at 40:1-3 (prayer for relief).
   14         Next, the State argues that Bruen blessed psychological examinations
   15   because some of the state shall-issue permitting schemes it approved of had “good
   16   moral character” provisions. State’s Opp. at 16:2-24. Yet the State does not point to
   17   any other state that requires (now or in the past) psychological examinations of
   18   applicants. To Plaintiffs’ knowledge, none exist. The Supreme Court only
   19   juxtaposed New York’s discretionary requirement with other states which “often
   20   require applicants to undergo a background check or pass a firearms safety course.”
   21   Bruen, 597 U.S. at 38 n.9. Psychological examinations were not within the purview
   22   of the Bruen opinion, and none of the 43 existing schemes the Court discussed
   23   requires one.
   24         Critically, and contrary to the State’s arguments, the Second Amendment’s
   25   plain text is undoubtedly implicated here: Plaintiffs wish to carry without having to
   26
   27   waive the portion of their argument that relied on the lack of an appeal avenue,
        which presented an independent reason to strike the psychological examination.
   28
                                        17
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    1   subject themselves to an invasive psychological examination.7 Other courts have
    2   ruled that the mere existence of a permit application process to purchase or carry
    3   firearms at least implicates the plain text. Koons, 2023 WL 3478604, at *18;
    4   Maryland Shall Issue, Inc., 86 F.4th at 1045, reh'g en banc granted, No. 21-2017
    5   (L), 2024 WL 124290 (4th Cir. Jan. 11, 2024) (firearm purchase permit law
    6   implicates plain text of the Second Amendment).
    7          The State also argues that psychological examinations comport with
    8   historical tradition. But a New York court ruled recently that a urinalysis
    9   requirement not only has no historical analogue, “but forcing an applicant to submit
   10   to urinalysis, in essence, requires them to give up their 4th Amendment rights
   11   against unlawful searches and seizures to exercise their 2nd Amendment rights."
   12   Kamenshchik v. Ryder, supra, at p. 7. If a urinalysis requirement is too invasive,
   13   then a psychological examination in which an applicant is questioned at length
   14   certainly is too.
   15          Nor do the specific historical analogues the State refers to justify the
   16   psychological examination. As the State notes, “[p]rior regulation was likely
   17   unnecessary because persons of ‘unsound mind’ were often physically isolated. . .
   18   .” 8 State Opp. at 17:25-18:8. That the founding era dealt with the problem through a
   19   different method weakens the State’s argument because, “if earlier generations
   20   addressed the societal problem, but did so through materially different means, that
   21   also could be evidence that a modern regulation is unconstitutional.” Bruen, 597
   22   U.S. at 26-27.
   23          None of the State’s analogues involved the preemptive disarmament of
   24          7
                La Verne’s particular examination has further abuses as well that should
        independently lead to its being enjoined, even if this Court were to uphold
   25   psychological examinations generally. Those issues are discussed infra in Part
        II.C.2.
   26
               An analogue to this exists today, but it is not the psychological
               8
   27   examination, it is involuntary commitment. And if an individual is involuntarily
        committed, they lose their right to possess firearms under federal law. 18 U.S.C. §
   28   922(g)(4).
                                                  18
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    1   people who are “ordinary, law-abiding, adult citizens.” Bruen, 597 U.S. at 31. All
    2   of the laws the State lists governed people who had already demonstrated behavior
    3   that led to their disarmament, such as “vagrants” and the intoxicated. State’s Opp.
    4   at 18:3-11. Nor were these permanent disarmaments, unlike failing a psychological
    5   examination which renders the individual completely unable to carry a firearm. See
    6   Mai v. United States, 974 F.3d 1082, 1090 (9th Cir. 2020) (Bumatay, J., dissenting
    7   from denial of en banc) (quoting Henry Care, English Liberties, or the Free-born
    8   Subject's Inheritance 329 in noting that “judicial officials” were authorized to "lock
    9   up" "lunatics" or "other individuals with dangerous mental impairments", but they
   10   were "locked up only so long as such lunacy or disorder shall continue, and no
   11   longer.").
   12         Most critically, people of unsound mind accessing weaponry is not a new
   13   problem, and “when a challenged regulation addresses a general societal problem
   14   that has persisted since the 18th century, the lack of a distinctly similar historical
   15   regulation addressing that problem is relevant evidence that the challenged
   16   regulation is inconsistent with the Second Amendment.” Bruen, 597 U.S. at 26.
   17         The State also argues that, despite what Bruen says, some sort of discretion is
   18   permitted. State Opp. at 19:11-16. In support, it cites a Second Circuit case with a
   19   currently pending certiorari petition to the Supreme Court. Yet even that ruling,
   20   while allowing more discretion than the Supreme Court did, still confined it tightly.
   21   “In addressing the catch-all provision, the Antonyuk court used words like
   22   ‘modicum’, ‘limited’, ‘minor’ and ‘modest’ in describing the degree of discretion
   23   the Licensing Officer could exercise. . . .” Kamenshchik, supra, at p. 6 (discussing
   24   Antonyuk v. Chiumento, 89 F.4th 271, 312 (2d Cir. 2023)). Far worse even than
   25   Nassau County’s repudiated urinalysis, an invasive, three-hour long psychological
   26   examination is far beyond an exercise of “modest” discretion, and it should be
   27   enjoined. See Decl. of Jim Carlson in Supp. Of Pls.’ Mot. For Prelim. Inj., ¶ 9.
   28
                                        19
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    1            C.    La Verne and Flores’s Opposition.9
    2                  1.     Bruen expressly prohibits La Verne’s high fees.
    3            The City of La Verne swings for the fences, arguing that Bruen’s express
    4   warning that imposing an exorbitant fee schedule for a carry permit is
    5   unconstitutional is irrelevant dicta, and thus its $1,081 threshold for obtaining a
    6   carry permit is “reasonable” and constitutional. See Defs.’ La Verne Police Dep’t
    7   and La Verne Chief of Police, Coleen Flores’ Not. of and Opp. to Pls.’ Mot. for
    8   Prelim. Inj. (“LV Opp.”) at 5:12-16, 6:19-22; see also Decl. of Acting Chief Sam
    9   Gonzalez in Supp. of Defs.’ City of La Verne and La Verne Chief of Police Colleen
   10   Flores’ to Pls.’ Mot. for Prelim. Inj., Ex. 1 (confirming La Verne’s fees total
   11   $1,081). But La Verne strikes out. Exorbitant permit fees like La Verne’s are so
   12   plainly unconstitutional precisely because, when the Supreme Court hypothesized
   13   what sort of obstructions to issuance that hostile issuing authorities might impose
   14   on applicants, high fees are one of only two examples it identified. Bruen, 597 U.S.
   15   at 38 n.9. Only in the opposition papers of local governments hostile to enumerated
   16   rights can the Supreme Court’s explicit warning about high fees be characterized as
   17   dicta.
   18            Without a doubt, if any other constitutional right were at issue here, La Verne
   19   would be too embarrassed to make the “others are doing it, so we can too!”
   20   argument in support of its exorbitant fee schedule. While it is true that other issuing
   21   authorities in Los Angeles County are also engaged in “massive resistance” with
   22   similarly exorbitant fee schedules, that they are not defendants in this action has no
   23   bearing on whether La Verne’s fee structure survives historical review under Bruen.
   24   That Birmingham, Prince Edward County, and Jackson resisted complying with
   25            La Verne submitted lengthy objections to Plaintiffs’ declarations, making a
                 9
        variety of complaints that they do not comply with the Federal Rules of Evidence.
   26   But it is elementary that “[d]ue to the urgency of obtaining a preliminary injunction
        at a point when there has been limited factual development, the rules of evidence do
   27   not apply strictly to preliminary injunction proceedings.” Herb Reed Enterprises,
        LLC v. Fla. Ent. Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir. 2013).
   28
                                            20
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    1   school integration was no defense to Little Rock post-Brown. Similarly, it is no
    2   defense here that other issuing authorities in Los Angeles County are also flouting
    3   Bruen’s express warning with exorbitant and unconstitutional fee schedules.
    4         Moreover, La Verne’s “fee matrix” does not prove its point at all. See
    5   Gonzalez Decl., Ex. 1. Several of the included cities’ fee schedules, while still
    6   clearly unconstitutional, are much less expensive than La Verne’s, including
    7   Alhambra PD ($719), Claremont PD ($618), Glendale PD ($618), Glendora PD
    8   ($493), Irwindale PD ($766), LAPD ($641), LASD ($523), Monrovia PD ($673),
    9   Monterey Park PD ($651), Pasadena PD ($707.14), San Marino PD ($766.42), and
   10   Whittier PD ($761). 10 Id. The least La Verne could have done was impose a fee
   11   schedule in line with most other cities in Los Angeles County. But instead, its fee
   12   schedule is second only to Hawthorne PD ($1,133), and hundreds of dollars more
   13   than the county average and median as the matrix it submitted shows. Id.
   14         But in any event, the fee schedules that other Los Angeles County
   15   municipalities are imposing are not the proper yardstick. This is not a relative
   16   inquiry; it is an absolute one. And prior to Bruen, almost none of these cities issued
   17   CCW permits to anyone. Even densely populated county authorities like LASD
   18   rarely issued permits to civilians. So it is not surprising that these authorities are
   19   now obstructing Bruen with high fees. Just as courts historically did not look to the
   20   jurisdictions most hostile to civil rights to establish the model for integration policy,
   21   the Court should not do so here.
   22         In stark contrast to Bruen-resisting jurisdictions are the issuing authorities
   23   that granted permits to all law-abiding applicants even before Bruen required it. For
   24   example, the Riverside County Sheriff’s Department charges $195, plus the cost of
   25   the training course. This includes the cost of fingerprinting, and like most issuing
   26   authorities, Riverside does not require a psychological exam. See Riverside County
   27         10
                  The Gonzalez declaration claims a few other cities are also costlier, which
        La Verne repeats in its brief (LV Opp. at 8:25-9:4), but evidence of those other
   28   cities’ fees are not included in the matrix La Verne submitted.
                                                    21
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    1   Sheriff’s Department, Permitium, https://riversideca.permitium.com/ccw/start (last
    2   visited Feb. 22, 2024). Assuming a $250 training course as La Verne’s matrix did,
    3   the total expense for a Riverside applicant is therefore $445. While $445 is still a
    4   unconstitutional barrier to the exercise of a constitutional right, it is still less than
    5   half of La Verne’s $1,081. And La Verne’s fees remain exorbitant, every two years,
    6   for each renewal. Assuming a $250 training course, renewals in Riverside are $337,
    7   id., while La Verne charges $675 for renewals. And in San Bernardino County,
    8   training is done in-house, there is no psychological exam, initial applications cost
    9   $396.40, and renewals cost only $192—an absolute comparative bargain compared
   10   to La Verne. See San Bernardino County Sheriff’s Department, Permitium,
   11   https://sbcsd.permitium.com/ccw/start (last visited Feb. 22, 2024).
   12          Furthermore, as discussed in the Motion, in comparison to CCW permit
   13   issuance in other states, La Verne’s fees are even more out of line. Plaintiffs
   14   provided examples of the fees in Arizona ($60 plus fingerprinting), Texas ($40),
   15   Utah ($53.25), and Washington ($36 plus fingerprinting). Mot. at 10:27-11:16. In
   16   their complaint, Plaintiffs also listed off Florida ($55), Minnesota ($100), and
   17   Nevada ($100.25). See Complaint at ¶ 95. These are the type of states that the
   18   Supreme Court had in mind when it referenced 43 states that already have
   19   presumptively constitutional shall-issue licensing regimes; not California, which
   20   was one of the seven that did not. Bruen, 597 U.S. at 38 n.9. Those pre-Bruen
   21   permit schemes do not create the obstructionist model that hostile Californian
   22   municipalities seek to justify here. With more than half the country imposing no
   23   permit requirement or fee schedule whatsoever between an eligible citizen and their
   24   enumerated right to be armed outside of the home, La Verne’s $1,081 fee schedule
   25   is patently unacceptable.
   26          La Verne demurs that “exorbitant” means “exceeding the customary or
   27   appropriate limits in intensity, quality, amount, or size.” LV Opp. at 7:5-6 (citing
   28   Merriam-Webster Dictionary). Yet that definition perfectly describes La Verne’s
                                               22
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    1   fee schedule, which even exceeds other egregious fee schedules in other LA County
    2   municipalities as well as those in virtually every other state. If the cost of voter
    3   registration or a permit to protest in a public forum was many multiples more
    4   expensive in one state than nearly all the others, such a law would be very short
    5   lived. See, e.g., Sullivan v. City of Augusta, 511 F.3d 16, 37 (1st Cir. 2007) ($500
    6   overcharge for parade permit fee from city’s actual expenses was unconstitutionally
    7   excessive); and see Baldwin v. Redwood City, 540 F.2d 1360, 1371-72 (9th Cir.
    8   1976) (invalidating as an unconstitutional tax upon the exercise of First
    9   Amendment rights a temporary political sign posting fee that bore no reasonable
   10   relationship to the actual cost of sign removal). It should be no different with the
   11   Second Amendment, which the Supreme Court assures is not a “second class right.”
   12   McDonald v. City of Chicago, Ill., 561 U.S. 742, 780 (2010).
   13          Critically, La Verne invests scant effort in justifying why its fee schedule is
   14   significantly higher than most other issuing authorities in California, and absolutely
   15   no effort in explaining why its fees are many multiples higher than those of other
   16   states. Its core argument is that its fee schedule reflects the supposed reasonable
   17   cost it incurs to process applications. LV Opp. at 8:3-15. This is not only
   18   unbelievable, given the aforementioned examples, but is also immaterial. The
   19   Supreme Court said fees are exorbitant when they “deny ordinary citizens their
   20   right to public carry.” Bruen, 597 U.S. at 38 n.9. 11 There is no question that many
   21   ordinary people cannot afford a $1,081 expense (and another $675 every two years
   22   after that), including some of the Plaintiffs. See Decl. of Clarence Rigali in Supp.
   23   Of Pls.’ Mot. For Prelim. Inj., ¶ 6; Decl. of Keith Reeves in Supp. Of Pls.’ Mot. For
   24   Prelim. Inj., ¶ 5; Decl. of Cynthia Gabaldon in Supp. Of Pls.’ Mot. For Prelim. Inj.,
   25   ¶ 5.
   26          Moreover, La Verne cites no caselaw in support of this argument. Instead, it
   27          11
                 La Verne complains that the “[t]he Court in Bruen simply did not elucidate
        what constitutes an ‘exorbitant’ fee” (LV Opp. at 6:25-26), but as this excerpt from
   28   the ruling demonstrates, that simply is not true.
                                                  23
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    1   criticizes Plaintiffs citation to an unreported case, Murphy v. Guerrero. But Murphy
    2   is useful for its persuasive and illustrative value, 2016 WL 5508998, at *24 (D. N.
    3   Mar. I. Sept. 28, 2016, having dispensed with a $1,000 excise tax because it
    4   imposed “a tremendous burden on the rights of responsible law-abiding citizens in
    5   the CNMI to obtain handguns.” Id. Given La Verne’s $1,081 fee schedule, it is no
    6   wonder that it pleads with the Court to ignore a ruling that found a similar expense
    7   a “tremendous burden.”
    8         La Verne also ignores another pre-Bruen case Plaintiffs cited, Kwong v.
    9   Bloomberg, which allowed CCW permit fees amounting to a little over $100 per
   10   year because they reflected administrative costs. 723 F.3d 160 (2d Cir. 2013). La
   11   Verne clearly has no interest in explaining why its fee schedule is so many times
   12   that figure. Nor does it address Invisible Empire Knights of Ku Klux Klan v. City of
   13   W. Haven, which held that, while permit fees may cover administrative costs, such
   14   costs should be minor and not likely to inhibit anyone from exercising their rights.
   15   600 F. Supp. 1427, 1434 (D. Conn. 1985) (citing U. S. Lab. Party v. Codd, 527
   16   F.2d 118, 119 (2d Cir. 1975)). La Verne also disregards Bullock v. Carter, a
   17   Supreme Court decision holding that “[t]he city’s interest in recouping the costs of
   18   its already existing duty of protecting its citizens in the exercise of their
   19   constitutional rights cannot justify the massive burden [the expense] imposes upon
   20   those rights.” 405 U.S. 134, 149 (1972). That is exactly what La Verne is doing
   21   here, as it insists that unnecessary, laborious, and redundant vetting of citizens who
   22   are already eligible to possess firearms is a dire necessity that purportedly justifies
   23   its burdensome fee schedule. LV Opp. at 7:10-25. La Verne ignores these
   24   authorities because there is no way to distinguish them in good faith. Nor may La
   25   Verne fall back on a vague and abstract public safety argument. LV Opp. at 7:10-
   26   15. Such arguments are forbidden in the Second Amendment analysis and are
   27   displaced by a much simpler question: does the challenged law have a well-
   28   subscribed ratification era precursor. Bruen, 597 U.S. at 26.
                                                   24
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    1         La Verne also argues that its police officers did a “studied analysis” and
    2   concluded that the fee schedule in place is the cheapest it can possibly be, but does
    3   not provide the Court any data or evidence to support this claim, including a copy
    4   of the alleged study. See LV Opp at 8:16-21; Gonzalez Decl., ¶¶ 5-8. Plaintiffs find
    5   it hard to believe that over $1,000 is anywhere close to the lowest La Verne could
    6   go if it truly implemented only the “narrow, objective, and definite” standards that
    7   Bruen allows (597 U.S. at 38 n.9), especially when the DOJ already conducts the
    8   required background check, and the training course is completed through an outside
    9   vendor. There is little left for La Verne to do besides confirming that an applicant is
   10   21 years old, resides within the issuing authority’s jurisdiction, is the recorded
   11   owner of the firearms the applicant seeks to carry, and has completed a training
   12   course. See Cal. Pen. Code § 26155(a) (West 2024). These are simple,
   13   administrative tasks that other cities perform for much less cost. La Verne has not
   14   explained for the purpose of meeting its constitutional burden why it performs these
   15   simple, administrative tasks at a much higher cost.
   16         Finally, and alternatively, La Verne should bear the costs of its decision to
   17   conduct any deeper investigation, or to require an unconstitutional psychological
   18   examination, not the applicants. Any interest the City has in recouping such costs
   19   does not outweigh the massive infringement on its citizens’ constitutional rights.
   20   Bullock, 405 U.S. at 149. Nor does La Verne’s claim that it nets only $40 for each
   21   application have any bearing here whatsoever. LV Opp. at 2:22-24. But see Cox v.
   22   New Hampshire, 312 U.S. 569, 576-77 (1941).12 Again, what matters is the
   23   infringement to the applicant. Bruen, 597 U.S. at 38 n.9. The focus is not La
   24   Verne’s wallet. La Verne’s exorbitant fee schedule is unconstitutional, and it must
   25   be enjoined.
   26
   27         12
                  Contrary to La Verne’s claim, in other contexts, a fee is constitutionally
        appropriate if it reimburses a city for its expenses, not nets a city only a modest
   28   profit of $40. See id.
                                                     25
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    1                 2.    La Verne does not attempt to defend even the more
                            invidious aspects of its unique psychological exam
    2                       requirement.
    3         Plaintiffs already discussed the psychological examination’s
    4   unconstitutionality in Part II.B.2., supra. They will not go on at length about it here,
    5   nor is it necessary to do so given that La Verne devoted only three paragraphs to
    6   attempting to rebut Plaintiffs’ argument. LV Opp. at 9:17-10:8.
    7         Nevertheless, it is worth noting that, in addition to challenging the
    8   constitutionality of a psychological examination for CCW permitting generally,
    9   Plaintiffs also took issue with how La Verne’s specific examination is administered.
   10   La Verne did not dispute any of what Plaintiffs argued regarding its examination:
   11   that it is administered at a remote location in San Bernardino that takes an hour to
   12   get to each way, that it takes several hours, and that it is only offered on weekdays
   13   and is thereby inaccessible for people subject to an inflexible Monday through
   14   Friday work schedule. Mot. at 17:14-16. La Verne also confirms that the
   15   psychological examination is the same one that law enforcement applicants take,
   16   but makes no effort to justify why that is necessary in this context. LV. Opp at
   17   9:20-22. Plaintiffs do not seek to be police officers, for whom the possibility of
   18   using lethal violence is a core aspect of the job; they are private citizens seeking to
   19   be armed in the rare instance they face a gravely violent personal threat in public.
   20         Thus, even if this Court were to uphold the psychological examination
   21   requirement in a vacuum, La Verne’s implementation has serious problems that it
   22   does not bother to defend. La Verne halfheartedly argues about public safety,
   23   stating that enjoining its psychological examination requirement will increase the
   24   likelihood that dangerous people will get permits. Yet even though most California
   25   issuing authorities do not require psychological examinations, La Verne has no
   26   examples of a psychologically-troubled person being issued a permit and going on
   27   to commit crimes. Quite the opposite, crime among people with CCW permits is
   28   exceedingly rare. The Sheriff of Fresno County, a county which has issued permits
                                                 26
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    1   without regard to “good cause” for many years and does not require a psychological
    2   examination, recently said that, out of its over 12,000 residents with CCW permits,
    3   none had committed any crime, violent or otherwise, in at least two years. See Erika
    4   D. Smith and Anna Chabria, Column: California says its new gun law is about
    5   public safety. But what about these women?, LA Times (Jan. 19, 2024), https://
    6   www.latimes.com/california/story/2024-01-19/california-gun-concealed-carry-law-
    7   women-domestic-violence-newsom.
    8         D.     The Remaining Preliminary Injunction Factors Favor Plaintiffs
    9         Plaintiffs are likely to succeed on the merits, and in a constitutional case, that
   10   makes the remaining preliminary injunction factors something close to a formality.
   11   “If a plaintiff bringing such a [constitutional] claim shows he is likely to prevail on
   12   the merits, that showing will almost always demonstrate he is suffering irreparable
   13   harm as well.” Baird, 81 F.4th at 1042; see also id. at 1044 (quoting Arizona
   14   Dream Act Coal. v. Brewer, 757 F.3d 1053, 1069 (9th Cir. 2014)) (“a plaintiff who
   15   can show that a statute likely violates the Constitution will also usually show ‘that
   16   both the public interest and the balance of the equities favor a preliminary
   17   injunction.’”). Controlling Ninth Circuit precedent thus commands Plaintiffs’
   18   success on the remaining Winter factors. Yet even if considered independently of
   19   their likelihood of success on the merits, the Plaintiffs clearly prevail on the
   20   remaining factors.
   21         As to irreparable harm, LASD argues that because Plaintiffs have not faced a
   22   deadly attack in public yet, that means no harm has resulted. LASD Opp. at 21:13-
   23   16. Setting aside that LASD would certainly not feel responsible if a Plaintiff stuck
   24   in the backlog is injured or killed in a deadly attack because they were unable to
   25   defend themselves, it is a basic principle that “the deprivation of constitutional
   26   rights ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695
   27   F.3d 990, 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).
   28   Similarly, the fact that La Verne does not believe that expenses totaling over $1,000
                                                  27
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    1   to get a CCW permit are a constitutional violation is immaterial. See LV Opp. at
    2   10:10-18. If this Court agrees with Plaintiffs that such expense violates their
    3   Second Amendment rights, then they have established irreparable harm.
    4          For its part, the State argues that there is no irreparable harm because
    5   nonresidents have long not been able to carry in California in modern history, and
    6   the allowance for a psychological examination has also been in place for many
    7   years. State’s Opp. at 20. Therefore, according to the State, Plaintiffs unreasonably
    8   delayed in bringing this motion, and there is no urgency. Id. What the State omits is
    9   that Bruen made Plaintiffs’ claims viable, and it is a recent landmark ruling.
   10   Further, La Verne’s implementation of the challenged psychological exam is only
   11   months old. Besides, even if there was unreasonable delay, and there has not been,
   12   “[d]elay by itself is not a determinative factor in whether the grant of interim relief
   13   is just and proper.” Cuviello v. City of Vallejo, 944 F.3d 816, 833 (9th Cir. 2019)
   14   (quoting Aguayo for & on Behalf of N.L.R.B. v. Tomco Carburetor Co., 853 F.2d
   15   744, 750 (9th Cir. 1988)).
   16          Turning to the next factors, when the government is the defendant as in this
   17   case, the last two factors of the balancing of the equities as well as the public
   18   interest merge. Baird, 81 F.4th at 1040 (citing Nken v. Holder, 556 U.S. 418
   19   (2009)). When challenging government action that affects the exercise of
   20   constitutional rights, “[t]he public interest . . . tip[s] sharply in favor of enjoining
   21   the” law. Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009).
   22          LASD argues that the balance of the equities and the public interest favor it
   23   because, essentially, it is trying its best. But as Plaintiffs have established, even if
   24   LASD did not receive one more application, at its current pace it would take over
   25   four years for it to clear the existing backlog of first-time applicants. Clearly, LASD
   26   must devote several times more resources to CCW permit application processing,
   27   so it does not continue to violate the Second Amendment rights of the Plaintiffs and
   28
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    1   thousands of others. 13 If voter registration took years because only a few public
    2   servants were assigned to process registrations, no one would accept the argument
    3   that the government was doing its best and could take as long as it needed to get
    4   caught up. The constitutional harm would easily be seen as the far greater interest
    5   than any difficulty for government. The same applies here because the Second
    6   Amendment is not a “second class right.” McDonald, 561 U.S. at 780.
    7         LASD also argues that no injunction should issue because the standard for
    8   mandatory injunctions is higher. LASD Opp. at 7:15-8:5, 21:20-23:8. But that is
    9   immaterial here because this is not a close case, “the facts and law clearly favor the
   10   moving party.” Park Vill. Apartment Tenants Ass'n v. Mortimer Howard Trust, 636
   11   F.3d 1150, 1160 (9th Cir.2011) (quoting Anderson v. United States, 612 F.2d 1112,
   12   1114 (9th Cir.1979)). Besides, if LASD is unable or unwilling to process
   13   applications faster, then Plaintiffs requested a form of non-mandatory relief: letting
   14   applicants who have already waited for four months carry while there application is
   15   pending. LASD argues that this would allow “criminals, mentally ill, drug addicts”
   16   and other prohibited people to carry. LASD Opp. at 23:4-8. Plaintiffs suspect that
   17   such individuals are not applying for CCW permits, and LASD presents no
   18   evidence of the commonality of such applicants. Regardless, Plaintiffs proposed
   19   order makes clear that this protection after 120 days would only apply to applicants
   20   who have submitted a livescan to the Department of Justice and who are not
   21   otherwise prohibited from owning firearms (like criminals, drug addicts, and those
   22   who were involuntarily committed are under federal law).
   23         The State cites to unnamed and unattached studies that purportedly conclude
   24   that more carry of firearms leads to more crime. State’s Opp. at 21:3-10. But as
   25         13
                  LASD also argues that any relief should be limited to the Plaintiffs in this
        action. LASD Opp. at 24:7-17. This is an unserious suggestion because four
   26   different associations are Plaintiffs who have associational standing. See Oregon
        Advoc. Ctr. v. Mink, 322 F.3d 1101, 1109 (9th Cir. 2003). Each of their members
   27   are entitled to relief. Presumably, LASD is not going to ask each applicant if they
        are a member of one of the Plaintiffs, and then process such individuals faster than
   28   others.
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    1   Plaintiffs have argued, numerous courts (including one in this district) have found
    2   that those issued CCW permits have exceedingly low homicide rates, based on
    3   government crime data from several different states. See May, 2023 WL 8946212,
    4   at *19; Wolford v. Lopez, 2023 WL 5043805, at *32; and Koons, 2023 WL
    5   3478604, at *108. The State honoring permits issued by other states presents no
    6   danger, and certainly not a large enough one to justify denying the right of law-
    7   abiding Americans to carry in this state. Similarly, La Verne’s fear of mass
    8   shootings, LV Opp. at 10:27-11:2, makes no sense in this context. Mass killers are
    9   not seeking CCW permits before committing their atrocities. If anything, the
   10   possibility of the harm of mass shooters is another reason why Plaintiffs want to be
   11   able to exercise their right to carry in a constitutionally timely and affordable
   12   manner so they can defend themselves should they find themselves, as others have,
   13   in such a horrific scenario.
   14   III.   CONCLUSION
   15          For these reasons as well as those presented in the opening brief and all
   16   supporting documents, Plaintiffs pray this Court will vindicate the constitutional
   17   right to bear arms.
   18          Respectfully Submitted,
   19   Dated: February 28, 2024               MICHEL & ASSOCIATES, P.C.
   20                                          /s/ C.D. Michel
                                               C.D. Michel
   21                                          Counsel for Plaintiffs
   22
        Dated: February 28, 2024               LAW OFFICES OF DON KILMER
   23
                                               /s/ Don Kilmer
   24                                          Don Kilmer
                                               Counsel for Plaintiff The Second Amendment
   25                                          Foundation
   26
   27
   28
                                        30
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    1                      ATTESTATION OF E-FILED SIGNATURES
    2         I, C.D. Michel, am the ECF User whose ID and password are being used to
    3   file this COMBINED REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR
    4   PRELIMINARY INJUNCTION. In compliance with Central District of California
    5   L.R. 5-4.3.4, I attest that all signatories are registered CM/ECF filers and have
    6   concurred in this filing.
    7   Dated: February 28, 2024                      /s/ C.D. Michel
                                                      C.D. Michel
    8
    9
   10
   11             LOCAL RULE 11-6.2 CERTIFICATE OF COMPLIANCE
   12         The undersigned, counsel of record for Plaintiffs, certifies that this brief does
   13   not exceed 30 pages in length using Times New Roman 14-point font, which
   14   complies with this Court’s order of February 8, 2024 (Dkt. No. 22).
   15   Dated: February 28, 2024                      /s/ C.D. Michel
   16                                                 C.D. Michel

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                                CERTIFICATE OF SERVICE
    1                     IN THE UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
    2
        Case Name: California Rifle and Pistol Association, et al., v. Los Angeles County
    3   Sheriff’s Dep’t, et al.
    4   Case No.:    8:23-cv-10169-SPG (ADSx)
    5   IT IS HEREBY CERTIFIED THAT:
    6          I, the undersigned, am a citizen of the United States and am at least eighteen
        years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
    7   Beach, California 90802.
    8          I am not a party to the above-entitled action. I have caused service of:
    9       COMBINED REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                         PRELIMINARY INJUNCTION
   10
        on the following parties, as follows:
   11
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   23    Angeles County Sheriff’s Department
         and Sheriff Robert Luna
   24
        by electronically filing the foregoing with the Clerk of the District Court using its
   25   ECF System, which electronically notifies them.
   26          I declare under penalty of perjury that the foregoing is true and correct.
   27   Executed February 28, 2024
   28                                                 Christina Castron

                                    CERTIFICATE OF SERVICE
